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 Exhibit 1
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                                   Transcript of Audio File
                 FO                   and Crew Scheduler
                                        July 22, 2017

Crew           Thank you for calling me. How may I help you?
Scheduler

FO             Hi, this is [AUDIO CUTS OUT].

Crew           Hello?
Scheduler

FO             Hello? Can you hear me?

Crew           Mhm. Can I have your ID number?
Scheduler

FO

Crew                  ?               , right?
Scheduler

FO             Yeah. Correct.

Crew           Alright.
Scheduler

FO             Did we talk earlier?

Crew           Yes.
Scheduler

FO             Okay. I was talking to the union, and they wanted me to call and tell you that I
               needed ten hours of pre-duty rest prior to my schedule change per the contract,
               and just to check if you guys were aware of that.

Crew           Alright. Hold on.
Scheduler

[Phone
ringing and
background
noise]

Unidentified   Good morning. [INAUDIBLE] Hong Kong [INAUDIBLE]. How can I help?
Speaker

Crew           Hi, my name is               [INAUDIBLE]. I’m calling you in regards to an FO


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Scheduler        that I have laying over there. His name is
                 First name is      . Can I please be transferred to his room one more time?

Unidentified     Sorry.      and then?
Speaker

Crew
Scheduler

Unidentified     And       is         ?
Speaker

Crew             Mhm.
Scheduler

Unidentified     Just a second, please.
Speaker

[Hold
music/phone
ringing]

FO               Hello?

Crew             Hi,      . This is           from Crew Scheduling. How are you?
Scheduler

FO               Hi. I’m fine. How are you?

Crew             I’m doing good, good. Hey, the reason why I’m calling you is because I wanted
Scheduler        to ask you—we have a Hong Kong—can you hold on one second? I’m sorry.
                 Hold on one second.

[Silence while
on hold]

Crew             Alright. I’m so sorry about that. I just wanted to ask you if it’s okay—I
Scheduler        understand you were supposed to go from Bahrain to [INAUDIBLE] 20Z, dead
                 head on the flight.

FO               Yeah.

Crew             We have a Hong Kong [INAUDIBLE] anchorage flight open on that 20Z as
Scheduler        well. Would you be willing to help us out and operate the flight for us?

FO               What do you mean by “help you out?” Do I—is that not something I have to
                 accept?



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Crew          Not really because you were supposed to dead head. Right? And this is an
Scheduler     operating change, so that’s something that you’ll have to agree with.

FO            Okay. Well, in that case, no.

Crew          Okay. Alright. Hold on one second, okay? Just a second while we re-route
Scheduler     you, and then we’ll go ahead and give you your legal rights, and then we’ll go
              ahead and re-route you, okay?

FO            Okay. Thank you.

Crew          Alright. Bye.
Scheduler

Crew          I am so sorry,    . I was just—I went for a quick walk and came back into
Scheduler     this. And [laughing]

FO            No problem.

Crew          It’s something—it’s something new to me. But I guess there was a
Scheduler     miscommunication with me and my lead. It’s—it’s, from my understanding,
              it’s the same time as a dead head. There’s no change. So, basically she just
              told me that I wasn’t supposed to ask you. I was supposed to tell you—you’re
              going to be doing instead of going to Bahrain, you’ll now go to [INAUDIBLE].
              It’s the same departure, and it’s a completely legal assignment.

FO            Okay.

Crew          I guess it’s because I just came in, and you know, pretty busy. I went for a
Scheduler     quick walk and then—just instructed to call and ask, and now I’m getting an
              explanation from him, and he just explained that to me.

FO            Okay.

Crew          Alright. So, it's Hong Kong [INAUDIBLE] anchorage departing at 20Z. It’s
Scheduler     the same time you’re supposed to dead head to Bahrain.

FO            Okay.

Crew          Okay?
Scheduler

FO            Alright.

Crew          Alright. Thank you so much, okay?
Scheduler




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FO            Thank you.

Crew          Alright. Bye.
Scheduler




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